






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-04-246 CR


____________________



HAROLD LAIRD, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 87746






MEMORANDUM OPINION


	We have before the Court a motion from the appellant, Harold Laird, to withdraw
his notice of appeal pursuant to Tex. R. App. P. 42.2.  The motion is signed by appellant
personally.  No opinion has issued in this appeal.  The motion is granted and the appeal
is therefore dismissed.

	APPEAL DISMISSED.

								___________________________

									CHARLES KREGER

										 Justice


Opinion Delivered August 24, 2005

Do Not Publish

Before McKeithen, C.J., Gaultney and Kreger, JJ.


